8:04-cr-00294-LSC-FG3                 Doc # 242       Filed: 02/26/09     Page 1 of 1 - Page ID # 841



                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                  8:04CR294
                vs.                               )
                                                  )                     ORDER
CHRISTOPHER M. McWILLIAMS,                        )
                                                  )
                         Defendant.               )

        Defendant Christopher M. McWilliams appeared before the court on Thursday, February 26, 2009
on a Petition for Warrant or Summons for Offender Under Supervision [235]. The defendant was
represented by Assistant Federal Public Defender Michael F. Maloney and the United States was
represented by Assistant U.S. Attorney Andrea E. Belgau. Through his counsel, the defendant waived
his right to a probable cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1). The
government moved for detention. Through counsel, the defendant declined to present any evidence on
the issue of detention and otherwise waived a detention hearing. Since it is the defendant’s burden under
18 U.S.C. § 3143 to establish by clear and convincing evidence that he is neither a flight risk nor a danger
to the community, the court finds the defendant has failed to carry his burden and that he should be
detained pending a dispositional hearing before Judge Smith Camp.
        I find that the Report alleges probable cause and that the defendant should be held to answer for
a final dispositional hearing before Judge Smith Camp.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Judge Laurie Smith Camp in Courtroom
No.2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on
March 9, 2009 at 3:00 p.m. Defendant must be present in person.
        2       The defendant, Christopher M. McWilliams, is committed to the custody of the Attorney
General or his designated representative for confinement in a correctional facility;
        3.      The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 26th day of February, 2009.

                                                           BY THE COURT:

                                                           s/ F. A. Gossett
                                                           United States Magistrate Judge
